          Case 1:23-cv-10684-IT Document 195-3 Filed 11/21/23 Page 1 of 3

                                                       Coordinación General de Investigación Estratégica.
     Fiscalía                                                     Fiscalía de Investigación Estratégica de
                                                                                       Delitos Financieros.
     General
     de Justicia                                                          Agencia Investigadora del Ministerio Público "C" .
                                                                                            Unidad de Investigación "C-6"
                                                                                   CI-FIEDF/T/Ul-1 S/D/00882/06-2022
      Ciudad de México


                                                                                                         2023
                                                                                                        Francisco
                                                                                                          VII.!-A
                                                           "2023: AÑO DE FRANCISCO VILLA ,EL REVOLUCTONARIO DEL PUEBLO"


                                                     ACUERDO

 En la Ciudad de México, siendo las 11 :56 once horas con cincuenta y seis minutos del día 15 de noviembre del
 año 2023 dos mil veintitres, con fundamento en los artículos; 1°, 8°, 20 y 2i de la Constitución Política de los
 Estados Unidos Mexicanos;       131 del Código Nacional de Procedimientos Penales. Vistos l~s registros que
 anteceden, el suscrito Agente del Ministerio Público, Licenciado Juan Ignacio Escamilla victoria adscrito a la
 Unidad de Investigación "C-6", de la Fiscalía de Investigación Estratégica de Delitos Financieros, de la
 Coord.inación General de Investigación Estratégica, de la Fiscalía General de Justicia de la Ciudad de México;.---.:.-
    -------------------------------------------------------------------·--------------------
                   --------------------------- D E T E R M I N A -:----------------------------------
                                                              ------------------
Visto para atender petición.-· Escrito sin anexos y sin fecha, recibido en esta Fiscalía de Investigación Estratégica
de Delitos Financieros, el días 14 catorce de noviembre de 2023 dos mil veintitres, suscrito por el C. Luis
Alejandro Alfaro Janet, Apoderado Legal de "Servicios Funerarios GG", S.A. de C.V. quien insiste en una
nueva consulta respecto a la solcitud copias autentificadas de la 'presente Carpeta de Investigación señalada al
rubro y con la finalidad de exhibirlas como prueba en el Juicio por Fraude ~n la Corte Federal del Distrito de
Massachusetts, en Estados Unidos de América, indetificado cómo: "Civil Action No. 23-CV-10684-IT" ante la
Juez Jennifer C. Boal, entre SERVICIOS . FUNERARIOS GG S.A. DE C.V., como parte actora y ADVENT
INTERNATIONAL COPORATION, ·como Demandada" toda vez que los hechos de la demanda estan
relacionados con los hechos denunciados. Al respecto, el personal actuante·determina: ----------------------
-----------------------------------------------------------
------------------------ C O NS I D E R ANDO S - - - - - - - - - - - - -
       ------------------------------------------------
 UNICO.- Estese a lo determinado en el acuerdo de fecha 16 de octubre de 2023, y en consecuencia se reitera que
 la información contenida en las copias de la carpeta de investigación que ya le fueron otorgadas en su calidad de
 víctima del delito debe constreñirse al procedimiento penal a fin de, por un lado, respetar los derechos
fundamentales de las partes y, por otro lado, garantizar la reserva de las investigaciones, con el objeto de procurar
la correcta administración de j u s t i c i a . - - - - - - - - - - - - - - - - - - - - - - - - - - - -
Con funda.mento en los artículos 1º, 6°, 8° y 21 de la Constitución Política de los Estados Unidos Mexicanos; 1,
3, 5, fracción VIII, 40, fracciones II y XXI de la Ley General del Sistema Nacional de Seguridad Pública; 1, 2, 3,
4 (para .los efectos de esta ley" se entiende en posesión de los entes obligados, susceptible de ser tutelada por el
derecho fundamental a la privacidad, intimidad, honor y dignidad y aquella que la ley prevea como tal), Vlll
(información de acceso restringido todo tipo de información en posesión de entes obligados, bajo las figuras de
reservada o confidencial), IX, X (información reservada: la información pública que se encuentre temporalmente
sujeta a alguna de las excepciones previstas en esta ley); 36 párrafo primero 37 fracción VII, 40, 42 y 50 de la Ley
de Transparencia y Acceso a la Información Pública de la Ciudad de México y l 05 y 218 del Código Nacional de
Procedimientos
  I   •
                    Penales, se acuerda lo siguiente: De acuerdo con lo establecido en los artículos 105 y 218 del
Có.digo Nacional de Procedimientos Penales se prevé la reserva sobre la identidad de los sujetos procesales, así
como la reserva de los actos de investigación, lo cual implica que únicamente las partes pueden tener acceso a las
mismas, incluyendo que se les pueda expedir copia de ellas. Sin embargo, dichos registros de investigación tienen
e,I _c~rácter de reservados por lo que no pueden tener acceso personas ajenas a las partes en el procedimiento penal,
~ebi~o a la protección del interés público y al resguardo de la investigación para procurar su eficacia y no poner en



                                                                  Digna Ocho y Placido No. 56, 2g piso, Colonia Doctores,
                                                                     Alcaldía Cuauhtémoc, C.P. 06720, Ciudad de México.
                                                                                                   Teléfono 55 5346 8011
      Case 1:23-cv-10684-IT Document 195-3 Filed 11/21/23 Page 2 of 3

                                                        Coordinación General de Investigación Estratégica.
   Fi sca lía                                                      Fiscalía de Investigación Estratégica de
   Genera l                                                                             Delitos Financieros.

  _de Justicia                                                             Agencia Investigadora del Ministerio Público "C" .
                                                                                             Unidad de Investigación "C-6"
    Ciudad de México                                                                Cl-FIEDF/T/Ul-1 S/D/00882/06-2022



                                                                                                            2023
                                                                                                         Francisco
                                                                                                             Vl~A
                                                            "2023: AÑO DE FRANCISCO VILLA ,EL REVOLUCIONARIO DEL PUEBLO"
pe Iigro la misma... -------------~-----------------------------------------------------------------------------------------
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                          - - - - RESUELVE -------------------------------------~--
    --------------------------------------------------------------------------------------------
PRIMERO.- En ténninos de los artículos 1º, 6º, 8°, 16, 20 Apartados A, y C, 21 de la Constitución Política de
los Estados Unidos Mexicanos; se da contestación al escrito de merito en los terminos señalados en el cuerpo del
presente A c u e r d o . - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

-SEGUNDO.- Notifiquese para todos los efectos a que haya lugar el presente acuerdo, en la dirección del correo
electrónico (como preferente) proporcionado por el promoverte para tales e f e c t o s . - - - - - - - - - - -




                                                  ATENTAMENli
                                       EL C. AGENTE DEL MINIST




                                                                         Digna Ocha .y Placido No . 56, 2ij piso, Colonia Doctore~
                                                                            Alcaldía Cuauhtémoc, C.P. 06720, Ciudad de Méxicc
                                                                                                             Teléfono 55 5346 so·
          Case 1:23-cv-10684-IT Document 195-3 Filed 11/21/23 Page 3 of 3



RESOLUTION
In Mexico City, at 11:56 AM (eleven hours and fifty-six minutes) on November 15, 2023,
based on articles 1°, 8°, 20, and 21 of the Political Constitution of the United Mexican States; 131 of the
National Code of Criminal Procedures. Having reviewed the preceding records, the undersigned Public
Prosecutor, Juan Ignacio Escamilla Victoria, assigned to the Investigation Unit "C-6", of the Strategic
Investigation Prosecution of Financial Crimes, of the General Coordination of Strategic Investigation, of
the General Prosecution of Justice of Mexico City determines the following:

Having considered the request: Document without attachments and date, received in this Strategic
Investigation Prosecution of Financial Crimes on November 14, 2023, signed by Mr. Luis Alejandro
Alfaro Janet, Legal Representative of "Servicios Funerarios GG", S.A. de C.V., who insists on a new
inquiry regarding the request for authenticated copies of the mentioned Investigation File, with the
purpose of presenting them as evidence in the Fraud Trial at the Federal Court of the District of
Massachusetts, United States of America, identified as: "Civil Action No. 23-CV-10684-IT" before Judge
Jennifer C. Boal, between SERVICIOS FUNERARIOS GG S.A. DE C.V., as plaintiff, and ADVENT
INTERNATIONAL CORPORATION, as defendant, since the facts of the complaint are related to the
reported facts. Regarding this, the acting staff determines:

CONSIDERATIONS

UNIQUE.- Adhere to the determination made in the agreement dated October 16, 2023, and therefore it is
reiterated that the information contained in the copies of the investigation file already granted to you as a
victim of the crime must be confined to the criminal proceeding in order to respect the fundamental rights
of the parties and ensure the confidentiality of the investigations, for the proper administration of justice.
Based on articles 1°, 6°, 8°, and 21 of the Political Constitution of the United Mexican States; 1, 3, 5,
section VIII, 40, sections II and XXI of the General Law of the National Public Security System; 1, 2, 3, 4
(for the purposes of this law, it is understood in the possession of the obligated entities, protected by the
fundamental right to privacy, intimacy, honor, and dignity, and as foreseen by the law), VIII (restricted
access information: all types of information in the possession of obligated entities, under reserved or
confidential classification), IX, X (reserved information: the public information temporarily subject to
some of the exceptions provided in this law); 36 first paragraph, 37 section VII, 40, 42, and 50 of the Law
of Transparency and Access to Public Information of Mexico City and 105 and 218 of the National Code
of Criminal Procedures, the following is agreed: According to articles 105 and 218 of the National Code
of Criminal Procedures, confidentiality over the identity of the procedural subjects and the investigation
acts is established, which implies that only the parties can have access to them, including the issuance of
copies. However, these investigation records are confidential, so individuals who are not part of the
criminal proceeding cannot access them, due to the protection of public interest and the safeguarding of
the investigation to ensure its effectiveness and not jeopardize it.

DECIDES

FIRST. - In terms of articles 1°, 6°, 8°, 16, 20 Sections A, and C, 21 of the Political Constitution of the
United Mexican States; a response is given to the merits of the letter in the terms indicated in the body of
this Resolution.

SECOND. - Notify this resolution for all relevant purposes, at the email address (as preferred) provided
by the applicant for such effects.
